        Case 1:18-cv-01191-WMR Document 199 Filed 07/22/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



 Ju'Zema Marie Goldring,
                 Plaintiff,                      CIVIL ACTION FILE

 vs.                                              NO. 1:18-cv-01191-WMR

 Vladimir Henry,
 Juan Restrepo,
                     Defendants.


                                    JUDGMENT

       This action having come before the court, Honorable William M. Ray, II, United

States District Judge, for consideration of Attorney Fees, and the court having Granted

said motion, it is

       Ordered and adjudged that Plaintiff recover from Defendants in the amount of

$608,715 as reasonable attorney's fees.

       Dated at Atlanta, Georgia this 22nd day of July, 2022.


                                                KEVIN P. WEIMER
                                                CLERK OF COURT



                                          By:   s/ T. Schoolcraft
                                                Deputy Clerk
Prepared, filed, and entered
in the Clerk's Office
July 22, 2022
Kevin P. Weimer
Clerk of Court


By:    s/ T. Schoolcraft
       Deputy Clerk
